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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


IN RE THE MATTER OF:                                         )
                                                             )
JARLON LINER,                                                ) 18 CV 06163
                               Plaintiff,                    )
vs.                                                          ) Judge Robert W. Gettleman
                                                             )
FCA US LLC, a/k/a FIAT CHRYSLER                              ) Maj Judge Jeffrey Cole
AUTOMOBILES, a Delaware Corporation, and                     )
TOMASZ GEBKA, in his Individual Capacity,                    )
                        Defendants.                          )

                                  CORRECTED COMPLAINT


         COMES NOW THE PLAINTIFF, JARLON LINER, by and through his counsel, Calvita J.

Frederick and Associates, and complaining of the Defendant, FCA US LLC, a/k/a FIAT CHRYSLER

AUTOMOBILES, a Delaware Corporation, and TOMASZ GEBKA, alleges as follows:

                                            THE PARTIES

1. PLAINTIFF JARLON LINER (“JARLON” or “Plaintiff”) is a male, Black citizen of the United

      States, and at all times relevant thereto was a resident of the State of Illinois, residing in the

      County of Winnebago, City of Rockford Illinois.

2. DEFENDANT FCA US LLC, a/k/a FIAT CHRYSLER AUTOMOBILES (“FCA” or

      “Defendant”), is a Delaware Corporation, licensed to do business within the State of Illinois

      having its principal office in Auburn Hills, Michigan, and having a location within the State of

      Illinois, County of Winnebago, at 3000 W. Chrysler Drive, Rockford, Illinois.

3. FCA employs more than 500 people at their Belvidere/Rockford location.




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4. DEFENDANT TOMASZ GEBKA (“TOMASZ”) is a White male individual citizen of the State

   of Illinois and is believed to reside in or near the City of Belvidere, County of Boone, and in the

   geographic boundaries of this Court.

5. At all relevant times, Defendant TOMASZ was employed by Defendant FCA, and was an

   “employee" of Defendant FCA within in the meaning of 42 U.S.C. § 2000e(f).

                                      JURISDICTION AND VENUE

6. The claims against the Defendant herein are based upon race discrimination (Black) pursuant to

   Title VII of the Civil Rights Act of 1964, as amended, and 42 U.S.C. § 1981 which prohibits

   discrimination on the basis of race and further prohibits retaliation for opposing or making charges

   regarding discrimination.

7. Jurisdiction is conveyed upon this Court as the claims arise under the laws of the United States of

   America pursuant to 28 U.S.C. § 1343.

8. Venue is appropriate in the Northern District of Illinois, Eastern Division, pursuant to 28 U.S.C. §

   1391 as JARLON’S residence, at all times pertinent hereto, and Defendant’s business, as well as

   all events giving rise to this claim occurred within the counties served by this Court.

                                      NATURE OF THE ACTION

9. This is an action brought under Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §

   2000e et seq., which prohibits discrimination on the basis of race and further prohibits retaliation

   for opposing or making charges regarding discrimination, and 42 U.S.C. § 1981 and 42 U.S.C. §

   1983 to redress violations of Plaintiffs' Equal Protection rights guaranteed under the Fourteenth

   Amendment of the United States Constitution.

10. Defendants engaged in deliberate and unlawful policies, patterns, and employment practices

   intended to and did create and proliferate a hostile and abusive work environment based on race


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   that included violence, intimidation, retaliation, and constructive discharge.

11. Defendants have engaged in the age discriminatory acts, in willful violation of the Age

   Discrimination in Employment Act of 1967. (“ADEA”), 29 U.S.C.A. §§621 et seq.

12. This is an action also brought under Title VI which prohibits discrimination under any program or

   activity receiving federal financial assistance.

13. The Defendants have also engaged in common law assault and battery against the Plaintiff as a

   result of TOMASZ. Since this is not the first time TOMASZ physically struck an FCA employee,

   Plaintiff also alleges causes of action for assault and battery, and negligent supervision.

                              FACTS RELEVANT TO ALL COUNTS

14. JARLON has been employed by FCA since August of 2016 when he was hired as an Industrial

   Engineering Manager.

15. JARLON was originally interviewed and hired into FCA by Kurt Cvachack, who was the local

   plant manager and Steve Savoy, the Industrial Engineering Senior Manager. Both Kurt and Steve

   have since left the employ of FCA.

16. At all times material to this Complaint, JARLON proved his industriousness, presented and

   represented himself in an orderly and respectful manner, and commanded and continues to

   command the respect of his fellow employees.

17. Additionally, JARLON demonstrated his capacity and abilities to perform all job tasks to which he

   was assigned.

18. Shortly after beginning his employment with FCA, TOMASZ became JARLON’s manager.

19. In May of 2017, JARLON was part of a group of 12 FCA employees that took a trip to Italy for

   training at the Fiat location there. Fiat, an Italian company had previously purchased the Chrysler

   Corporation.



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20. JARLON was one of two managers who were part of the 12 FCA employees on the trip to Italy in

   May of 2017.

21. During the trip, certain FCA employees who were not a part of JARLON’S group and not under

   his management left work early one day and stayed out all night. The incident was reported to

   TOMASZ.

22. TOMASZ was not happy and in response to the report in an FCA group meeting, on or about May

   31, 2017, TOMASZ struck JARLON in the chest.

23. JARLON left work angry and returned the next day and reported the incident to FCA’s local

   Human Resources Department, (“HR”) an assault and battery and also as an act of discrimination.

24. The following morning, HR had JARLON outline what had happened during the altercation with

   TOMASZ.

25. Two days later, JARLON was told by HR that the investigation was closed.

26. Thereafter, TOMASZ called JARLON in to his office and apologized and said he hit JARLON in

   an effort to excite the team with energy.

27. In striking JARLON, TOMASZ violated the FCA Code of Conduct which prohibits unwanted

   physical contact.

28. Prior to this incident, JARLON’s performance reviews were average.

29. JARLON has a dual reporting requirement: JARLON reported to TOMASZ, as his local manager

   and also to Dan Rolka, the Engineering Manager located in Auburn Hills, Michigan.

30. Since JARLON reported the assault to HR, TOMASZ retaliated against JARLON by subjecting

   him to different treatment than his fellow workers, including but not limited to harsher scrutiny,

   open and continuous harassment, bullying and efforts intended to embarrass and humiliate




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   JARLON, and low performance reviews, including a low performance rating on JARLON’S

   annual review, all based upon race.

31. TOMASZ ensured that JARLON received a low score on his annual performance review when he

   forced his way into JARLON’S annual performance review and altered the deliverables in the

   middle of the face-to-face PLM assessment.

32. TOMASZ then graded JARLON low for not having achieved the deliverables TOMASZ set only

   moments before, in the middle of the Annual Performance Review.

33. The newly set goals that TOMASZ set in the middle of the annual performance review should

   have been given to JARLON 12 months before the annual review, in order for a fair assessment to

   have been made as to whether JARLON had achieved the goals.

34. No other FCA Industrial Engineer was required to meet goals performed in the manner that

   TOMASZ required of JARLON.

35. Also, no other FCA Industrial Engineer had their deliverables changed in the middle of the

   performance review.

36. Because of the unfair performance review, being physically struck by TOMASZ, and the resulting

   and ongoing retaliation by TOMASZ, JARLON requested a transfer within FCA, specifically to

   Kokomo, Indiana where his wife had recently accepted a new job.

37. JARLON applied for three open positions within the company and in response: he was denied one

   position based upon qualifications; one position was filled and there was no response to the third

   position.

38. Notwithstanding JARLON not having located a new position, his current position was advertised

   and filed.




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39. The advertising and filling of JARLON’S position before he found a new placement is not in

   keeping with the customary practices and procedures for current FCA employees seeking an in-

   house transfer.

40. On Tuesday, May 1, 2018, JARLON received a telephone call from Beth Stafford, an HR

   manager from the corporate office.

41. Beth advised JARLON that he had two options which were:

       1.      Either accept the position of Industrial Engineering manager in Warren, MI, as a

   temporary replacement for a person who was out on long term disability, or

       2.      Stay in Belvidere under TOMASZ’S management and be placed on a Performance

   Improvement Plan (“PIP”).

       3.      If he accepts Option 1, JARLON would not be placed on a PIP.

42. JARLON asked Beth if his performance needed improvement and Beth told him “NO”.

43. Beth gave JARLON until Friday, May 4, 2018 to tender his decision.

44. On Friday, May 4, 2018 JARLON called Beth and left her a voice mail message indicating he

   wanted to remain in Belvidere and would accept the PIP. In return JARLON received a text

   message advising Beth would call him at 1 pm.

45. When Beth returned JARLON’S telephone call, Beth’s manager, Ryan, was also on the call.

46. Ryan informed JARLON, as related to his decision to remain in Belvidere “that train had already

   left the station”, and that they had already interviewed 3-4 people to take his position in Belvidere.

47. JARLON questioned Beth and Ryan as to whether he ever really had a choice and the response

   was no.




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48. The position that JARLON was being forced to take in Warren, MI was a backfill position, which

   meant that when Trish Bowman returned from long term medical leave that JARLON would be

   out of a job.

49. FCA’s intended to force JARLON out of the company by insisting he relocate to what they knew

   was a temporary position.

50. FCA’S insistence that JARLON take the temporary position in Warren Michigan was a

   constructive termination of JARLON’S employment.

51. JARLON was ready to relocate immediately to Warren but was told by FCA management that he

   should wait for further instruction.

52. In the meantime, JARLON was placed on a PIP.

53. On or about July 13, 2018, JARLON resigned from his position at FCA.

54. JARLON was subjected to disparate treatment resulting in a hostile work environment, and

   constructive termination, including but not limited to:

                   A.   No real investigation of JARLON’S charges of assault and battery were
                         conducted by HR prior to arriving at the conclusion that the investigation of
                         TOMASZ’s conduct should be closed.

                   B.   Many FCA employees witnessed TOMASZ’S behavior when he struck
                         JARLON in an open meeting attended by many FCA employees, but none of
                         the other FCA employees were questioned by HR as to their account of what
                         happened during the altercation.

                   C.   On many occasions, TOMASZ singled JARLON out in group meetings, asking
                         him questions intended to belittle, humiliate and embarrass JARLON in front
                         of his co-workers.

                   D.   On another occasion TOMASZ used racially insensitive words in a conversation
                         with JARLON, including the word “slave”, which JARLON believed was
                         intended to intimidate him.



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                 E.    On several occasions JARLON was given conflicting directions by TOMASZ
                        and his other manager which made it difficult to know what to do and whose
                        directive to follow;

                 F.    On one occasion JARLON noted and corrected an error on a presentation, prior
                        to the presentment, but TOMASZ insisted on making a big deal of the error
                        and using it as an excuse to take over JARLON’S presentation in an effort to
                        demean and belittle JARLON in front of his co-workers.

55. TOMASZ’S behavior violated company policy and procedures which state: “FCA US LLL policy

   prohibits harassment, and inappropriate discriminatory comments towards and/or around any

   individual in the work environment.

56. FCA failed and refused to reprimand TOMASZ in any manner for his prohibited behavior directed

   toward JARLON.

57. The disparate treatment JARLON was subjected to at the hands of TOMASZ and HR, created a

   hostile, intimidating and uncomfortable work environment for JARLON.

58. TOMASZ and HR did not subject other similarly situated FCA employees to the hostile,

   intimidating, and uncomfortable work environment they created for JARLON.

59. JARLON met the legitimate objectives of his work assignments and got along with TOMASZ and

   his fellow employees as best he could.

60. Plaintiff was humiliated, harassed, and intimidated daily by TOMASZ.

61. FCA applies workplace rules and regulations in a racially-biased manner.

62. In response to this hostile work environment, Plaintiff made repeated complaints to the FCA.

63. In response to the complaints, Defendant did nothing to remedy the hostile work environment.

64. Instead of taking steps to alleviate the hostile work environment, Defendants instituted a policy of

   retaliation against Plaintiff.




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65. Similarly situated non-black employees with performance comparable to JARLON’S were not

   placed on a PIP, required to relocate and take a temporary position, and constructively discharged.

66. Plaintiff was also subjected to unwelcome, and inappropriate conduct during his day-to-day

   activities at FCA.

67. Based upon TOMASZ’S threatening demeanor and the fact that TOMASZ had struck another FCA

   employee, Plaintiff feared that TOMASZ was going to physically attack him again.

68. Plaintiff also believed that TOMASZ’S actions were intended to bait him and force an altercation

   with the Plaintiff that would justify (a) unwarranted disciplinary charges being filed against

   Plaintiff and/or (b) termination, and/or (c) the intervention of the Rockford Police Department, a

   situation that Plaintiff believed would not end up favorable for him.

69. The pervasive harassment, intimidation, and violence in the workplace aimed at Plaintiff was

   meant to intimidate and force Plaintiff and other Black employees into accepting their status as a

   second-class citizen within FCA, or to resign.

70. Defendant FCA created a negative workplace environment for Plaintiff through their actions

   and/or inactions, which conduct constituted a Title VII violation against the Plaintiff and created

   intolerable working conditions.

71. In response to the hostile, abusive and negative work environment during his day-to-day activities,

   Plaintiff could only either continue to suffer or be constructively discharged.

72. Plaintiff’s involuntary resignation resulted from the intolerable working conditions

73. On or about July 13, 2018, Plaintiff was constructively discharged from his position as an

   Industrial Engineering Manager at FCA.

74. A reasonable person in Plaintiff’s position would have found the working conditions intolerable.

75. FCA replaced JARLON with a non-black employee, who was younger than JARLON.



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                                       COUNT I
               VIOLATION OF TITLE VII DISCRIMINATION BASED UPON RACE
                                    AGAINST FCA


76. Plaintiff incorporates by reference all of the allegations set forth in paragraphs 1 through 75 and

   above.

77. Title VII of the Civil Rights Act of 1964 prohibits discrimination in employment practices and

   specifically 42 U.S.C.A. § 2000e-2 provides in pertinent part:

                “(a) Employer practices
       a.       It shall be an unlawful employment practice for an employer—
                         (1) to fail or refuse to hire or to discharge any individual, or otherwise to
                             discriminate against any individual with respect to his compensation, terms,
                             conditions, or privileges of employment, because of such individual’s race,
                             color, religion, sex, or national origin;”

78. Plaintiff has filed this cause subsequent to a timely filing of a Charge of Discrimination based

   upon race and age with the Illinois Department of Human Rights and the Equal Employment

   Opportunity Commission, a true and correct copy of which is attached to this Complaint as Exhibit

   “A”.

79. Plaintiff has filed this cause pursuant to a “Right to Sue Letter” issued by the Equal Employment

   Opportunity Commission within the statutory time requirement, a true and correct copy of which is

   attached to this complaint as Exhibit “B”.

80. Plaintiff, at all times pertinent to this Complaint, was a resident within the venue and jurisdiction

   of this judicial district and was within the protected race group (Black) as provided by Title VII.

81. The Defendant at all times relevant to this Complaint, operated and did business within the venue

   and jurisdiction of this judicial circuit.

82. During the course of his employment the Plaintiff came under the supervision of TOMASZ, who

   subjected JARLON to differential terms and conditions of employment because of his race.



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83. The Defendant FCA’S conduct as previously alleged at length herein and as described in the

   Charge of Discrimination attached to this Complaint constitutes discrimination based upon race in

   direct violation of Title VII.

84. As a result of Defendant’s discriminatory conduct, Plaintiff has been damaged in his career and to

   his person and has otherwise suffered monetary damages.

85. WHEREFORE, Plaintiff JARLON LINER, demands judgment against the Defendant, FCA, as
   follows:
                 A.    For retroactive reinstatement to his employment position at the time of
                           termination with all back pay, benefits and other emoluments of employment;
                 B.    For an award of $300,000 in compensatory damages suffered because of the
               discrimination;
                 C.    Plaintiff’s injury to his career, emotional pain and suffering, inconvenience,
               mental anguish, loss of enjoyment of life, and other nonpecuniary damages and fringe
               benefits;
                 D.    For attorney’s fees and costs of this suit, pursuant to applicable statute; and
                 E.    For such other and further relief, as is just and equitable.



                                        COUNT III
                  VIOLATION OF 42 USC § 1981 – AGAINST FCA AND TOMASZ


86. Plaintiff incorporates by reference all of the allegations set forth in paragraphs 1 through 75.

87. The claims against the Defendants herein are based upon discrimination based upon race.

88. Jurisdiction arises pursuant to 28 U.S.C. § 1343.

89. Venue is appropriate as JARLON’S residence, and Defendants residence and business, as well as

   all events giving rise to this claim occurred within the counties served by this Court.

90. Title 42 U.S.C. § 1981 provides in pertinent part:

91. “(a) Statement of equal rights

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       All persons within the jurisdiction of the United States shall have the same right in every State
       and Territory to make and enforce contracts, to sue, be parties, give evidence, and to the full
       and equal benefit of all laws and proceedings for the security of persons and property as is
       enjoyed by white citizens, and shall be subject to like punishment, pains, penalties, taxes,
       licenses, and exactions of every kind, and to no other.

       (b) “Make and enforce contracts” defined
       For purposes of this section, the term “make and enforce contracts” includes the making,
       performance, modification, and termination of contracts, and the enjoyment of all benefits,
       privileges, terms, and conditions of the contractual relationship.

       (c) Protection against impairment
       The rights protected by this section are protected against impairment by nongovernmental
       discrimination …”

92. At all times herein mentioned, JARLON was a person protected by the provisions of 42 U.S.C. §

   1981.

93. FCA deprived JARLON of his rights to make and enforce contracts granted to him by statutes of

   the United States when they deliberately and intentionally discriminated against him based upon

   his race by setting in place a campaign designed to, and did, result in JARLON’S constructive

   termination.

94. Defendant FCA maintains a widespread practice of treating Black employees, (based upon their

   race) especially JARLON less favorably than his co-workers who are not Black.

95. Although the practice is not authorized by written law or express company policy, the practice of

   discrimination in the nature of disparate treatment and the creation of a hostile work environment

   is so permanent and well-settled as to constitute a custom and/or usage with the force of law.

96. Defendants FCA practices represent a widespread practice of racial discrimination, especially

   towards Blacks.

97. JARLON was treated less favorably than his colleagues because he is Black, caused by an existing,

   unwritten, unconstitutional policy, which is directly attributable to a final policymaker.




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98. The final policy makers for Defendant FCA include TOMASZ and other members of management,

   including HR.

99. JARLON alleges a pattern of conduct that gives rise to a plausible claim that an unconstitutional

   custom, pattern or practice exists. Specifically Blacks who occupy the position of Industrial

   Engineering Manager are treated differently and denied the same opportunities as their Caucasian

   counterparts because of discriminatory animus and intent.

100.   This supports JARLON’S claim of having suffered adverse employment actions by conduct

   tantamount to bullying, arbitrary and inconsistent directives, demeaning and humiliating

   assignments, intentional and public humiliation, unwarranted discipline, and finally, constructive

   termination.

101.   JARLON has been employed by FCA since August of 2016 when he entered into an agreement

   for employment with FCA.

102.   Plaintiff at all times material to this Complaint proved his industriousness, presented and

   represented himself in an orderly and respectful manner and commanded and continues to

   command the respect of his fellow employers.

103.   Additionally, JARLON demonstrated his capacity and abilities to perform all job tasks to

   which he was assigned.

104.   Rather than support JARLON in his position of Industrial Engineering Manager, Defendant

   FCA intentionally discriminated against JARLON in the following ways: by refusing to take any

   action against TOMASZ when they knew that TOMASZ wrongfully struck JARLON; by refusing

   to intervene when they knew or should have known that TOMASZ was harassing JARLON on a

   daily basis in retaliation for filing a complaint against TOMASZ; by allowing TOMASZ to force

   his way into JARLON’S performance review; by supporting TOMASZ’S interposing of new



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   objectives in the middle of JARLON’S annual performance review; by supporting TOMASZ’S

   grading JARLON low on his annual performance review for failing to meet the newly set

   objectives; by insisting that JARLON relocate to Warren Michigan; by insisting that JARLON take

   a position they knew was temporary; by placing JARLON on a PIP when they knew JARLON had

   no performance issues; by advertising, interviewing for, and filing JARLON’S position when they

   knew JARLON had not been offered another position within the company.

105.   FCA’s intentional discriminatory animus through the actions of its employee TOMASZ was all

   based upon race.

106.   FCA knew about or reasonably should have known about the hostile work environment created

   by TOMASZ and HR and failed to take appropriate remedial action to protect JARLON.

107.   TOMASZ’S intentional discrimination interfered with JARLON’S right to enforce his

   agreement with FCA including the performance, and the enjoyment of all benefits, privileges,

   terms, and conditions of the contractual relationship, and the wrongful constructive termination of

   that contract.

108.   As a result of the Defendant FCA’S, discrimination based upon race, JARLON has suffered

   injury to his career, as well as emotional pain and suffering, inconvenience, mental anguish and

   loss of enjoyment of life, and other losses for which he is entitled to compensatory damages in

   accordance with 42 U.S.C. § 1981.

       a.       WHEREFORE, Plaintiff JARLON demands judgment against the Defendant FCA, as

                follows:

                    A.   Actual damages in the amount of lost wages and back pay from July 13, 2018 to

                           present or the date of JARLON’S re-employment, including any differential in

                           pay;



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                B.    Compensation for loss of employee benefits, including medical, dental, life,

                        401K, pension, stock options and retirement benefits;

                C.    Additional compensatory damages for Plaintiff’s mental anguish, pain, and

                        suffering, inconvenience, loss of enjoyment of life, and other non-pecuniary

                        damages and fringe benefits;

                D.    Additional compensation for damages to and the loss of JARLON’S career;

                E.    For punitive damages;

                F.    All reasonable and necessary attorney’s fees incurred as specified;

                G.    All costs of court; and

                I;    Such other and further relief as this court deems just and proper.

                                                COUNT V
                                     VIOLATION OF THE ADEA
109.   Plaintiff incorporates by reference all of the allegations set forth in paragraphs 1 through 75

   above.

110.   Plaintiff brings this action pursuant to the Age Discrimination in Employment Act of 1967.

   (“ADEA”), 29 U.S.C.A. §§621 et seq.

111.   Jurisdiction also arises pursuant to 28 U.S.C.A. §1343(4).

112.   Plaintiff has filed this cause subsequent to a timely filing of a Charge of Discrimination based

   upon age with the Illinois Department of Human Rights and the Equal Employment Opportunity

   Commission, a true and correct copy of which is attached to this complaint as Exhibit “A”.

113.   Plaintiff has filed this cause pursuant to a Right to Sue Letter issued by the Equal Employment

   Opportunity Commission within the statutory time requirement, a true and correct copy of which is

   attached to this Complaint as Exhibit “B”.




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114.   Plaintiff, at all times pertinent to this Complaint, was a resident within the venue and

   jurisdiction of this judicial district and was within the protected age group as provided by the

   ADEA.

115.   The Defendant at all times relevant to this Complaint, operated and did business within the

   venue and jurisdiction of this judicial circuit.

116.   Plaintiff was employed by the Defendant from approximately August of 2016 until he was

   wrongfully terminated on July 13, 2018. At the time of his termination JARLON was 45 years of

   age. JARLON was replaced with an employee younger than 40 years of age.

117.   In direct violation of the ADEA, the defendants engaged in the age discriminatory acts

   described in the Charge of Discrimination, attached to the complaint and incorporated herein by

   reference, including but not limited to:

       a.       Refused to take any action against TOMASZ when they knew that TOMASZ
                wrongfully struck JARLON;
       b.       Refused to intervene when they knew or should have known that TOMASZ was
                harassing JARLON on a daily basis in retaliation for filing a complaint against
                TOMASZ;
       c.       Allowed TOMASZ to force his way into JARLON’S performance review; by
                supporting TOMASZ’S interposing of new objectives in the middle of JARLON’S
                annual performance review;
       d.       Supported TOMASZ’S grading JARLON low on his annual performance review for
                failing to meet the newly set objectives;
       e.       Insisted that JARLON relocate to Warren Michigan; by insisting that JARLON take a
                position they knew was temporary;
       f.       Placed JARLON on a PIP when they knew JARLON had no performance issues;
       g.       Advertised, interviewed for, and filled JARLON’S position when they knew JARLON
                had not been offered another position within the company.




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       h.       Admonished, humiliated and embarrassed JARLON in front of his colleagues by
                suggesting he had committed sexual harassment, and then wrongfully terminating him
                for a wrong he did not commit;
       i.       Treated JARLON differently from other similarly situated employees;
       j.       Subjected JARLON to scrutiny, discipline, wrongful allegations of misconduct and
                harassment as part of a conspiracy intended to and did result in his termination;
       k.       Created a hostile work environment by the activities listed above;
       l.       Failed and refused to give JARLON notice and opportunity to defend the accusations
                against him; and
       m.       Failed and refused to conduct an honest, open and good faith investigation of the
                charges levied against JARLON by Malinda and Shareera.
118.   As a result of Defendant’s discriminatory conduct, Plaintiff has been damaged in his career and

   has otherwise suffered monetary damages.

   WHEREFORE, Plaintiff JARLON, demands judgment against the Defendant, FCA as follows:
                 A.    For damages in an amount in excess of $75,000, equal to Plaintiff’s back pay
                         and benefits from July 13, 2018 through the present pursuant to Section 7(b)
                         of the ADEA, 29 U.S.C.A. §626 (b);
                 B.    For an award of compensatory damages for Plaintiff’s injury to his career,
                         emotional pain and suffering, inconvenience, mental anguish, loss of
                         enjoyment of life, and other nonpecuniary damages and fringe benefits;
                 C.    For reinstatement to his previous position, or in the alternative, for front pay,
                         pursuant to Section 7 (e) of the ADEA, 29 U.S.C.A. §626 (b);
                 D.    For Attorney’s fees and costs of this suit, pursuant to Section 7(b) of the ADEA,
                         29 U.S.C.A. §626 (c); and
                 E.    For such other and further relief as is just and equitable.


                                            COUNT VI
                                    ADEA – WILLFUL VIOLATION

119.   Plaintiff incorporates by reference all of the allegations set forth in paragraphs 1 through 75

   and 110-118 above.

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120.   Defendant’s discriminatory conduct was intentional and/or in reckless disregard for Plaintiff’s

   rights under the law and these acts constitute willful indifference to said rights.

WHEREFORE, Plaintiff JARLON, demands judgment against the Defendant, FCA as follows:

       A.       For damages in an amount equal to Plaintiff’s back pay and benefits from July 13, 2018

                through the present pursuant to Section 7(b) of the ADEA, 29 U.S.C.A. §626 (b);

       B.       For an award of compensatory damages for Plaintiff’s injury to his career, emotional

                pain and suffering, inconvenience, mental anguish, loss of enjoyment of life, and other

                nonpecuniary damages and fringe benefits;

       C.       For reinstatement to his previous position, or in the alternative, for front pay, pursuant

                to Section 7 (e) of the ADEA, 29 U.S.C.A. §626 (b);

       D.       For Attorney’s fees and costs of this suit, pursuant to Section 7(b) of the ADEA, 29
                U.S.C.A. §626 (c);
       E.       Punitive damages; and
       F.       For such other and further relief as is just and equitable


                                        COUNT VII
                            ASSAULT AND BATTERY AGAINST TOMASZ

121.   Plaintiff incorporates by reference all of the allegations set forth in paragraphs 1 through 75

   above.

122.   Civil battery in Illinois is defined as having four elements: (1) that the defendant had the intent

   to cause a harmful or offensive contact with plaintiff; (2) that the defendant actually made

   unauthorized physical contact with plaintiff that was harmful; (3) that plaintiff was injured; (4) that

   defendant’s action caused the injury to plaintiff.

123.   On or about May 31, 2017, Defendant TOMASZ struck Plaintiff JARLON in his chest.

124.   Defendant TOMASZ intended his contact with Plaintiff to be both harmful and offensive.


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125.   Defendant TOMAZS actually made the harmful and offensive contact with Plaintiff and said

   contact was unauthorized;

126.   As a result of Defendant TOMASZ’S contact, Plaintiff was injured both physically, mentally

   and emotionally, by the striking of Plaintiff and also by the conduct exhibited against the Plaintiff

   by TOMASZ and others, including and not limited to Plaintiff’s constructive behavior, all of

   which occurred as a result of and damages subsequent to the assault and battery.

127.   The injuries suffered by Plaintiff are a direct result of Defendant TOMASZ’S actions.

WHEREFORE, Plaintiff JARLON, demands judgment against the Defendant, FCA as follows:

       A.       For an award of compensatory damages for Plaintiff’s injury to his career, emotional

                pain and suffering, inconvenience, mental anguish, loss of enjoyment of life, and other

                nonpecuniary damages and fringe benefits;

       B.       Punitive damages; and

       C.       For such other and further relief as is just and equitable.
                                        COUNT VIII
                               NEGLIGENT SUPERVISION AGAINST FCA

128.   Plaintiff restates and realleges each and every allegation contained in Paragraphs 1-75 .and

   Paragraphs 122-127 as though fully set forth herein.

129.   Defendant failed to train, supervise, and monitor their employees, agents, and servants despite

   their duty to do so.

130.   At all material times, Defendants, and each of them, had the power, ability, authority and duty

   to supervise, control, and train their employees, agents and servants.

131.   Defendants knew or should reasonably have known that their agents, servants, and employees

   were not adequately trained to protect the Plaintiff and prevent the discriminatory treatment of

   JARLON initiated at the suggestion and hands of his supervisors.


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132.   Defendants knew or should reasonably have known that such lack of training would

   proximately result in the disparate and discriminatory treatment of JARLON, the assault and

   battery, and subsequent constructive termination of JARLON’S job resulting in injury and

   emotional distress to Plaintiff.

133.   Despite such duty and reasonable knowledge, Defendants failed to supervise, control and train

   their agents, servants, and employees.

134.   At all material times Defendants had the power, ability, authority, and duty to intervene,

   supervise, prohibit, control, regulate, discipline, and/or penalize the conduct of their agents,

   servants, and employees so as to prevent injury to the Plaintiff.

135.   At all material times, Defendants knew or reasonably should have known that TOMASZ and

   other FAC personnel were engaging in the above-mentioned acts and omissions, that they were not

   adequately trained to protect Plaintiff’s from abuse and retaliation, and that such acts and

   omissions and such lack of training would proximately result in assault and battery, constructive

   termination, injury and emotional distress to Plaintiff.

136.   Despite their duty to supervise their agents, servants and employees, Defendants negligently

   failed to act so as to prevent such termination and injury to Plaintiff.

137.   As a proximate cause of the acts and omissions of Defendant, Plaintiff was subjected to injury

   to his body, wrongful constructive termination, and injury to his career, including but not limited

   to that described above and emotional distress.

138.   As a proximate cause of the acts and omissions of Defendant, Plaintiff was subjected to injury

   to his body, wrongful constructive termination, and injury to his career, including but not limited

   to that described above and emotional distress.




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                                       PRAYER FOR RELIEF

WHEREFORE, Plaintiff’s and each of them respectfully prays as follows:

       A. For entry of an award of compensatory damages against Defendant in an amount equal to

          the loss of income and expenses related to the wrongful constructive termination.

       B. For entry of an award of punitive damages in an amount equal to 2% of Defendant’s net

          worth.

       C. For legal interest on such sums from the date of judgment until paid.

       D. For such other and further relief as this Court deems just and proper.

                                          COUNT IX
                                     RETALIATION AGAINST FCA


139.   Plaintiff realleges and incorporates by reference paragraphs 1 through 75 and 77-85 inclusive.

140.   Plaintiff has been threatened, subjected to racial and intimidating and derogatory statements,

   denied opportunities to complete his work, received negative performance reviews, and wrongfully

   placed on a PIP, denied opportunities to obtain a transfer, faced assault and battery, demeaned and

   humiliated in front of his peers, in retaliation for opposing and making charges regarding conduct

   Plaintiff reasonably believed to be an unlawful employment practice under Title VII in violation of

   42 U.S.C. § 2000e-3(a).

141.   As alleged above, these actions began occurring shortly after May of 2017, when Plaintiff filed

   a complaint with the FCA Human Resources Department and the EEOC and continued to the day

   when Plaintiff was constructively discharged.

142.   Up to the date of Plaintiff’s constructive discharge, Plaintiff continued to be harassed and

   retaliated against by his supervisor TOMASZ, who continued to single Plaintiff out for

   mistreatment.



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143.   A reasonable person in Plaintiff's position would find the Defendant’s actions materially

   adverse.

144.   Defendant acted willfully and in bad faith.

145.   WHEREFORE, Plaintiff demands judgment against Defendant FCA for reinstatement,

   transfer, compensatory, prejudgment interest, attorneys' fees, costs, and such other and further

   relief as the court deems proper.



                                             Respectfully submitted,
                                             JARLON LINER
                                             By;      s/ Calvita J. Frederick
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